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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


In re:                                                 CHAPTER 7
                                                       BKY 19-41577-KHS
James D. Rose and
Diane L. Rose,
                                                       NOTICE OF HEARING AND MOTION
                                                       FOR TURNOVER OF PROPERTY
               Debtors.


TO: THE UNITED STATES BANKRUPTCY COURT, THE UNITED STATES TRUSTEE, THE
DEBTORS, AND THE DEBTORS’ ATTORNEY.

       1. Julia A. Christians, Chapter 7 trustee herein, moves the Court for the relief requested
below and gives Notice of hearing herewith.

       2. The Court will hold a hearing on this motion on August 14, 2019, at 10:00 a.m. in
Courtroom No. 8 West, at U.S. Courthouse, 300 South Fourth Street, Minneapolis, Minnesota
55415 or as soon thereafter as counsel can be heard. Any response to this motion must be filed
and served not later than Friday, August 9, 2019, which is five days before the time set for the
hearing (including Saturdays, Sundays, and holidays). UNLESS A RESPONSE OPPOSING
THE MOTION IS TIMELY FILED, THE COURT MAY GRANT THE MOTION
WITHOUT A HEARING.

        3. This Court has jurisdiction over this motion under 28 U.S.C. § 157 and § 1334 and
Bankruptcy Rule 5005. This motion is filed under Local Rule 6072-1, this proceeding arises under
11 U.S.C. § 542(a) and movant requests an order directing the debtors to turn over: $363.66, for the
non-exempt portion of the debtors’ 2014 Chevrolet Malibu; $1,200, for the value of the Hallet Davis
baby grand piano; $700, for the value of the bicycle, slalom ski and jump skis; $805, for the value of
the non-exempt jewelry; $162.53, for the non-exempt portion of funds on deposit in the Wells Fargo
account; $210.18, for the non-exempt portion of funds on deposit in the Bank of America account;
$3,115, for the value of the stock owned through stock club; $15.66 for the non-exempt portion of
earned, unpaid wages; $1,662, for the cash surrender value of the second, unlisted Northwestern
Mutual whole life insurance policy owned by James Rose; $4,000, for the funds transferred on the
date of filing from Wells Fargo account xxx0666 to unlisted account xxx9533; copies of the debtors’
federal, state and any property tax returns, as soon as prepared; all 2018 income and property tax
refunds, as soon as issued; copies of the debtors’ 2019 federal, state and any property tax returns, as
soon as prepared; and, all 2019 income and property tax refunds, proportionate to the date of filing,
as soon as issued.

        4. The petition commencing this case as a Chapter 7 case was filed on May 24, 2019. This
case is now pending in this Court.
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       5. The trustee demanded turnover of the afore-said documents and property of the estate.
 However, the debtors have failed to respond. Therefore, the trustee requests an order directing
the debtors to comply with turnover without further delay.


                                                  LAPP, LIBRA, STOEBNER & PUSCH

Dated: July 25, 2019                              By /e/ Julia A. Christians
                                                  Julia A. Christians (#157867)
                                                  120 South Sixth Street
                                                  Suite 2500
                                                  Minneapolis, MN 55402
                                                  612/ 338-5815

                                                  Attorneys for the Trustee


                                         VERIFICATION

       I, Julia A. Christians, named in the foregoing Notice of Hearing and Motion for Turnover of
Property declare under penalty of perjury that the foregoing is true and correct according to the best
of my knowledge, information and belief.

Executed on July 25, 2019                       /e/ Julia A. Christians
                                                       Julia A. Christians
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                              UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


In re:                                                CHAPTER 7
                                                      BKY 19-41577-KHS
James D. Rose and
Diane L. Rose,

                Debtors.



                           UNSWORN CERTIFICATE OF SERVICE

         I, Katie J. Stimpel, declare under penalty of perjury that on July 25, 2019, I mailed copies
of the attached Notice of Hearing and Motion for Turnover of Property and proposed Order by
first class mail postage prepaid to each entity named below at the address stated below for each
entity:

James D. Rose
Diane L. Rose
840 Deerwood Drive
Chaska, MN 55318

VIA ELECTRONIC FILING ONLY

    •    Julia A. Christians jchristians@lapplibra.com,
         lfrey@lapplibra.com;kstimpel@lapplibra.com;MN0A@ecfcbis.com

    •    Bradley J. Halberstadt    bankruptcy@szjlaw.com

    •    Chad A. Kelsch    chad@kelschlawfirm.com

    •    Joseph M. Rossman        jrossman@logs.com, MNBKYAffidavits@logs.com

    •    US Trustee    ustpregion12.mn.ecf@usdoj.gov

Executed on: July 25, 2019                            /e/ Katie J. Stimpel
                                                      Katie J. Stimpel, Legal Assistant
                                                      Lapp, Libra, Stoebner & Pusch, Chartered
                                                      120 South Sixth Street, Suite 2500
                                                      Minneapolis, MN 55402
                                                      612/338-5815
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


In re:                                                 CHAPTER 7
                                                       BKY 19-41577-KHS
James D. Rose and
Diane L. Rose,
                                                       ORDER
                Debtor.


         This case is before the court on motion for turnover of property. Based on the motion and the
file,

         IT IS ORDERED:

        The debtors turn over to the trustee within 7 days of the date of this order: $363.66, for the
non-exempt portion of the debtors’ 2014 Chevrolet Malibu; $1,200, for the value of the Hallet Davis
baby grand piano; $700, for the value of the bicycle, slalom ski and jump skis; $805, for the value of
the non-exempt jewelry; $162.53, for the non-exempt portion of funds on deposit in the Wells Fargo
account; $210.18, for the non-exempt portion of funds on deposit in the Bank of America account;
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soon as prepared; and, all 2019 income and property tax refunds, proportionate to the date of filing,
as soon as issued.



Dated:
                                                       Kathleen H. Sanberg
                                                       United States Bankruptcy Judge
